Case 2:11-cv-02765-STA-Cgc Document 1-1 Filed 09/06/11 Page 1 of 14 Page|D 10

k ,
50ku BY LEG,».L DEPMMT

DEUT
lN THE cHANCERY coURT oF sHELBY CoUNTY, TENNESSEE SCHE ~’»AM<A@ maxim
FOR THF. THIRTIETH JUDICIAL DISTRICT AT MEMPHIS

 

BERNICE N"EWMAN
Plainfiff.

VS. DocketNo. CH-ll- \\50 -' 3
DE UTSCHE BANK NATIONAL
TRUST CoMPANY, F/K/A BANKERS
TRUST COMPANYOF
CALIFORNIA, N.A., AS TRUSTEE
FOR THE BENEFIT OF THE
CERTIFICATE HOLDERS 0F THE
AAMES MORTGAGE TRUST, '

_ MORTGAGE PASS THROUGH
CERTIFICATES, SERIES 2001-1

 

AND
BANK OF AMERICA, N.A.
AND

NATIONWIDE TRUSTEE
SERVICES, INC.

AND
'WILSON & ASSOCIATES, P.L.L.C.

Defendants.

`~»"W`-/`\J\~/WVWVVVWWWVVVWVVVWVVWVVVVVV

 

PETITION 'I`O ENJOIN DEFENDANTS’ TAKING POSSESSION, T(] SET ASIDE
FORECLOSURE SALE AND REINSTATE LOAN, AND COMPLAINT FOR DAMAGES

 

'I`O THE CHANCELLORS OF THE CHANCERY COURT FOR THE THIRTIETH
JUDICIAL DISTRICT:

COMES NOW the Plajntiff, Bemice Newman, by and through legai counsel, Brewer &

EXHIB|T

 

Case 2:11-cv-02765-STA-Cgc Document 1-1 Filed 09/06/11 Page 2 of 14 Page|D 11

Barlow PLC, Webb Brewer and Steve Barlow, and files her Petitiorx and Complaint and states as
foii_ows:
I. Prelimina§g Statement

1. Plaintiff, Bernice C. Newman, brings this Petition to Enjoin Defendanfs’ Taking
Possession, To Set Aside Foreclosure Sale, and Comi)iaint for Darnages pursuant to
the Tennessee Consumer Protection Act, Tcnn. Cc)de Ann. §47-18-101 et seq., the
Federal Truth in bending Act, 15 U.S.C. 1601, and established principles of contract _
Iaw.

II. Jurisdiction and Venue

2. Jurisdiction is conferred on this Court by Tenn. Code Ann. § 16-11-101.

3. Venue is proper in this Court pursuant to Tenn. Code Ann. §20-4-101¢'1$ the claim
arose in this District,

111. g_g_r_`g‘_e§ `

4. Plaintiff Bernice Newman ("Ms. Newrnan") is a citizen and resident of Mernphis,
Shelby County, Tennessee.

5 . Defendant Bank of America, N.A. (“_B_o_f_.f-‘i_”) is a national bank association Wit'n
principal offices ai 100 North Tryon Street, Charlotte, Noz’ch Carolina, whose
registered agent for service of process in the State of Tennessee is C T Corporation
System, 800 S Gay St. Ste. 2021 , Knoxville, TN 37929. `

6. Defendant Deutsc`ne Bank Naticnal Trust Company, F/K/A Bankers Trust Cornpany
of Caiifornia, N.A., as Trustee for the Benefit of the Certiiicate Holders of the Aames
Mortgage Trust, Mortgagc Pass Through C.ertificates, Series 2001-1 (“Deutsche") is

a national bank association with principal offices at 300 Grand Avenue, 418t Floor,

Case 2:11-ov-02765-STA-ogc Document 1-1 Filed 09/06/11 Page 3 of 14 Page|D 12

lO.

ll.

12.

13.

Los Angeies, CA 90071 whose registered agent for service of process in the State of
Tennessee is Dennis Gillespie, 320 Seven Spring Way, Fioor 1, Brentwood, TN
37027.
Defendant Nationwide Trustee Services, lnc. {“Nationwide”) is a ’l`ennessee
corporation with principal offices at 1587 Northeast Expressway, Atlanta, GA 30329
whose registered agent in the State of Termessee is National Registered Agents, lnc.:
2300 Hilisboro Rd Ste. 305, Nashville, TN 37212.
Defendant Wilson & Associates PLLC (‘°Mls_o_n") is an Arlcansas Professional
Lirnited Liability Company with principal offices at 1521 Menill Drive7 Suitc D~220,
Littie Rock, AR 7221 l whose registered agent for service of process in the State of
Tennessee is C 1` Corporation System, 800 S Gay St. Ste. 2021 , Knoxville, TN
37929.

IV. Factual Allegatjons
On December 9, 1'971, Ms. Newman purchased the property 314448 Whiteside Street,
Mernphis, Shelby County, Tennessee (the "Property") for 318,500.00.
On January 17, 2001, Ms. Newman retin`:(aii;eii{thre Property for a loan of $61£00.00
from Aalnes ancling Corporation (the “,L"o@mz;n”). h
At some point, Countrywide Horne Loans, which subsequently merged into B of A,
commenced the servicing ofthe Loan.
At no time did Ms. Newman receive notification ofthe change in ownership of the
Loan from Aames Fu_nding Corporation.
Beginning in October of2006, Ms. Newman began to experience financial hardship

and immediately sent a letter to Countrywide Home Loans, explaining that she

Case 2:11-ov-02765-STA-ogc Dooument 1-1 Filed 09/06/11 Page 4 of 14 Page|D 13

v needed to make arrangements to modify her Lcan payments No arrangements were

i4.

15.

16.

l'?.

18.

19.

20.

offered to her at that time

ivls‘ Newman repeatedly requested financial assistance from Countrywide Home
Loans and later B of A from 2006 to the present

The federal Horne At`fordable Moditication Program (“_HA_W”) was created as a part
of the federal Finanoial Stability Aet of 2.009. B ofA has been an ongoing participant
in the progiam, which is designed to help families to save their homes when faced
with financial hardships

On lanuary 27, 2009, Ms. Newman received written notice from Countrywide Horne
Loans denying her modification request because it “[did] not meet defined criteria per
the investor on the loan.” n

On Febmary 2, 2009, Ms. Newrnan received written notice from Countrywide Horne
Loans denying her modification request because “Conntrywide is not delegated by
the investor to perform modifications on the loan.”

On or about Febnxary 2?, 2009, Ms. New“nian received written notice from
Countrywide Horne Loans that her home loan had been referred to Countrywide’s
Foreclosure Management Comrnittee for review because her horne loan was
delinquent

Beginning in March 2009, Ms. Newman attempted again to obtain a loan
modification from Countrywide Home loans, using the services of a HUD certified
housing counseling agency

On March 30, 2009, Ms. Newman filed for Chapter 13 bankruptcy due to

Countrywide Horne Loan’s denial of her repeated loan modification requests and her

Case 2:11-cv-02765-STA-Cgc Document 1-1 Filed 09/06/11 Page 5 of 14 Page|D 14

desire to save her horne from foreclosure

21. Beginning in lanuary 2010', Ms. Newman attempted to obtain a HAMP loan
modification from B oi` A, as successor in interest to Countrywide Home Loans, using
the services of a HUD certified housing counseling agency

22. On May 4, 20]0, Ms. Newman received Written notice iiom B ofA denying her
modification request, citing “Investor Guidelines”.

23. Ms, Newrnan again attempted to obtain a HAMP loan modification from B of A
using the services of a l-IUD certified housing counseling agency

24. On Decernber 27, 2010, Ms. Newman received written notice from B ofA denying
her modification request1 citing “lnvestor Guidelines”.

25. Ms. Ncwrnan was eligible for the federal HAMP program at ali times that she
requested a loan modification because she met all of the express requirements7 as
follows:

a. T'lie property securing the vLoan has been Ms. Newrnan’s primary residence
without interruption since 197i.

b. Ms. Ncwman’s loan was delinquent as of February 2009.

c. Ms. Nevnnan’s loan was the first lien originated on or before January l, 2099.

d. T he unpaid principal balance of the loan was far beiow the threshold criteria
of $729,’/`50 for a one~unit property

e. Ms. Newman’s total monthly mortgage payment-including pn`ncipal, interest,
taxes, and insurance exceeded 31% of her gross monthly income

f. Ms. Newman’s loan had not previously been modified under HAMP or the

subject of a fully executed HAMP Trial Period Pian.

Case 2:11-cv-02765-STA-Cgc Document 1-1 Filed 09/06/11 Page 6 of 14 Page|D 15

g. Ms. Newman was experiencing financial hardship and lacked sufficient liquid
assets to make contractual mortgage payments

26. On March 29, 2011, Ms. Newrnan received notice that a foreclosure sale was ,
scheduled for April 21, 20l l.

27. The Deed omest given by Ms. Newman in connection wiih the Loan (the “QM
Irgs_§“) provides, on page 6 Paragraph 21, that if Lender invokes the power of sale,
Trostee shall give notice of sale by public advertisement and Trustee shall mail a
copy of the notice of sale ic Borrower. 'l`he Deed of Trust further provides as follows:
“Trustee shall sell the Property at public auction to the highest bidder at the time and
under the terms designated in the notice of saie” {emphasis added).

28. 011 April 21, 20l l, Ms. Newman received a single page letter purporting to giveher
notice that the foreclosure sale was rescheduled for May 19, 201 l .

29. Thcre was never any public advertisement of a foreclosure sale of the Proper’cy on
May 19, 2011

30. 'l`he Deed of Trust does not expressly provide for the announcement of a connnuance
of a foreclosure sale once public advertisement is made

31 . Deutsche, asserting that it is the successor in interest to the Loan and that the Loan
was in default, purchased the Property ar a foreclosure sale held on May 19, 20?1_

V. Claims for Relief
»COUNT I: Violation of Regulation Z of the Truth-In-Lcnding Act

32. The allegations of all other paragraphs and claims in this pleading are incorporated as

if fully rewritten herein

33. By failing to notify Ms, Newman of the change in ownership of her mortgage:

Case 2:11-cv-02765-STA-cgc Document 1-1 Filed 09/06/11 Page 7 of 14 Page|D 16

34.

35.

36.

37.

38.

39.

certaan Deuacheaas<aoinearhepmmeeeeguiam-z-o_en@reaern"reaaw

 

 

 

 

 

ln-Lending Act found at 12 C.l~`.R. § 226.39. _
COUNT [I: Tennassee Consumer `Protection Act Violation

The allegations of all other paragraphs and claims in this pleading are incorporated as
if fully rewritten herein
Bank of Arnerica’s failure to provide a Trial Per§od Plan to Ms‘ Newman, an eligible
borrower for HAMP, constitutes an unfair and deceptive act or practice within the
meaning of the 't`ennessee Consumer Protection Act.
Banl< of America’s acts, policies, and practices in handling loan modification
requests, for which they have been compensated by the federal government,
constitute unfair or deceptive acts or practices affecting the conduct of trade or
commerce and violate the Tennessee Consumer Protection Act.
Bank of Arnerica’s acts, policiess and practices in soliciting borrowers to apply for
loan modification and other relief pursuant to HAMP and then failing to give fair
consideration to such requests constitute unfair or deceptive acts or practices affecting
the conduct of trade or commerce and violate the Tennessee Consumcr Protection
Act.

COUNT IV: Breach of Contract

The allegations of all other paragraphs and claims in this pleading are incorporated
as if fully rewritten herein

By committing the acts complained of, Bank of America has breached contractual
agreements with the United States Department of'l`reasury regarding the

dministration of the Making Home At`fordable Prograrn, which contracts were clearly

Case 2:11-cv-02765-STA-Cgc Document 1-1 Filed 09/06/11 Page 8 of 14 Page|D 17

for the benefit of consumers like Ms. Newrnan.

40. By committing tire acts complained of, Bani< of Ainen`ca has breached its implied

4l.

duty to act in good faith in the execution of its obligations under the contract
By committing the acts complained of, Deutsche has violated the terms of the Deed
of 'l`rust and improperly foreclosed on the Property.

WHEREFORE, PREMISES CONSIDERED, THE PLAINTIFFS PRAY:

. That proper service issue and be served upon the defendants requiring them to answer

this Cornplaint and Petition.

That the Court issue a 't`ernporary Injunction prohibiting Bank ofAmerica and
Deutsch, their employees, agents, successors and/or assigns from evicting Ms.
Newrnan from the Property until a trial orr the merits of the claims raised in this
action

T hat the Court issue an order setting aside the foreclosure sale of the Property and
reinstating the Loan in a modified form favorable to lvls. Newman.,

That the Court enter judgment, including treble damages, against the Defendant, Bank
of America and in favor of Ms. Newman for willful violations oftlre 'l`ennessec
Consumer Protection Act.

for damages resulting from its failure to provide the notification required by

 

 

 

Regu{a{.ien Z…~ ,`. ,`,_._`_.M __ ..__..' ,, .

 

That the Cout't enter judgment against Dcfendanis Banl;`ot` Anreiica and Deutsclre~and

 

in favor ost. N“ewrn"a§`r'"l or B`r"eacliof’con§act§

 

 

That_Ms. Newrnar`r"tie a\§a"rded vall"c'o"§ts` a`ii'd_€§tpensE, including attorney fees,

rsar)a§ a

 

 

Case 2:11-cv-02765-STA-Cgc Document 1-1 Filed 09/06/11 Page 9 of 14 Page|D 18

incurred as a result of this action, pursuant to Tenn. Code Ann. §47-18_101 et seq.
8. For such other and further relief as to which Ms. Newman may be entitle&
Respecthllly Submit¥ed,

Brewer & Barlow PLC

 

Steven E. Barlow (B P. R No. 023498)
Attomeys for Plainhff

20 S. Dudley, Suite 806

Memphis, 'I`N 38103

(901) 866-1653

Case 2:11-cv-02765-STA-Cgc Document 1-1 Filed 09/06/11 Page 10 of 14 Page|D 19

M

STATE OP TENNESSEE
COU`NTY OF SHELBY

I, Bernice Newr_nan., having been duly swom, state as follows:

of my knowledge, information and belief.

FURTHER, AFFIANT SAYETH NOT.

 

 

Swom and subscribed to before me this ll'l‘ day of July, 201 l.

§/J,//

» A ¢‘WPUB IC
My Commission Expires: /0/7//% g P}\z

FIAT
TO THE CLERK OF THIS C()URT:

¢1>
Upon bond being given in the amount of § 350 issue the aforementioned

 

Temporary Res'craining Order and issue notice sewing this matter for hearing on
w Q':¥" 2011, at q“oo cl 'Vfor the Defendants to show cause why Plaintiff is
not entitled to have the relief prayed for above

A Temporary Restraining Order prohibiting any and all of the Defendants, their
employees, agents, successors and/or assigns from proceeding with any legal action
including but not limited to eviction action related to the property located at 4448 Whiteside,

Mempln`s, Shelby Counry, Texmess-ee, remains in effect until the hearing date

KENNY W. ARMSTRONG

 

Cllancellor BYRQTERCHANCB
Date: "HH 1 7 71§1

.A TRUE COPY- ATTEST
@lo,o§@w ®BUM

hh¢ll

Bv

 

Case 2:11-cv-02765-STA-Cgc Document 1-1 Filed 09/06/11 Page 11 of 14 Page|D 20

RE-!ssUE FIAT

TO THE CLERK OF THIS COURT: w

Upon bond being given in the amount of 35{ 2 , issue the aforementioned
Ternporary Restrai,ning Order and issue notice setting this matter for hearing on
§ 244 % g§;{: 13 201 l, at 10 00 m/for the Defendants to show cause Why Plaintiff is
not entitled to have the relief prayed for above

A Temporary Restraining Order prohibiting any and all of the Defenclants, their
employees, agents, successors and!or assigns from proceeding With any legal action

including but not limited to eviction action related to the property located at 4448 Whiteside,

Mernp Shelby County, Tennessee, remains in effect until the hearing date

 

 

Chancell

Date: v /2_71 %(/

 

 

ease 2:11-cv-02765-STA-cgc Documem 1-1 Filed 09/06/11 !`F`zagé'iz of 14 F/>agelo;za_if

 

 

 

 

CHANCERY CoURT CLERK's orifice "' f §§ §; » /"
MEMPi-US, TENNESSEE
Bemice Nev:niarz
Plaintiff(s)
VS
Deutsche Bank National Trust Co.
Defendant(s)
TO
Deutsche Bank National Tmst Cornpany_. 300 Grand Avenue, 4lst lloor, Los Angcles, CA 90071
You are hereby notified that application for T€mporaly lnj mullen
. 1 ' _ »»~r” l _
Will be heard before the Chancery €.ourt, Part Q\ , on § i\m{§ g 51 vi ,
~ ‘?`H\ ,,. ` ` / \~=/
the § b , day of given gt ‘7?,: 20 // at £’U o`clock § § M. as prayed for in

 

the Cornplaint hled in this cause, a oopy of which accompainies this writ and upon which Fiat has been granted

HERElN FAIL NOT`
Witness Dewun R Settle, Clerk and Master of said Court, at office the ;z :7 day of

CJMM%JG__!{_.

DEWUN R. siz'"$n,iz, c. & M.

by ij l/V(*"'>¢M

 

 

uty C. & i`\/l
RESTRAIN.ING ORDER
111 the meantirne,
SEE FlA'l`
until filrther Crders ofthis Court to Lhe contrary
ARNoLo n GoLotN
Chancellor

Chancery Court, Shelby County, Tcnnessee

Case 2:11-cv-O2765-STA-Cgc Document 1-1 Filed 09/06/11 Page 13 of 14 Page|D 22

IN THE CHANCERY COURT OF SHELBY COUNTY, TENNESSEE
FOR THE THIRTIETH .]UDICIAL DISTRICT AT MEMPHIS

BERNICE NEWMAN,
Plaimiff,

v. Civil Action Docket No. CH-11-1150-2

DEUTSCHE BANK NATIONAL TRUST
COMPANY, F/K/A BANKERS TRUST
COMPANY OF CALIFORNIA, N.A., AS
TRUSTEE FOR THE BENEFIT OF THE
CERTIFICATE HOLDERS OF THE
AAMES MORTGAGE TRUST,
MORTGAGE PASS THROUGH
CERTIFICATES, SERIES 2001-1

and
BANK OF AMERICA, N.A.
and

NATIONWIDE TRUSTEE SERVICES,
INC.

and
WILSON & ASSOCLATES, P.L.L.C.

Defendants.

\_/V\./\/\/\./\_/\_/\./VVVVVV\/\/\/WVVVVVV\/V\/VV

NOTICE OF REMOVAL TO FEDERAL COURT
PLEASE TAKE N()TICE that on September 6, 2011, Defendant Bank of Arnerica, N.A.
and Defendant Deutsche Bank National Trust Cornpany, F/K/A Bankers Trust Company of
California, N.A., as Trustee for the Benetit of the Certificate Holders of the Aarnes Mortgage

Trust, Mortgage Pass Through Certificates, Series 2001-l filed a Notice of Removal of this

Case 2:11-cv-O2765-STA-Cgc Document 1-1 Filed 09/06/11 Page 14 of 14 Page|D 23

action, pursuant to 28 U.S.C. §§ 1331, 1332, 1367, 1441, and 1446 in the United States District
Court for the Western District of Tennessee, Western Division. Pursuant to 28 U.S.C. § 1446(d),
“the State court shall proceed no further unless and until the case is remanded.” A copy of the
Notice of Rernoval, Without exhibits, is attached hereto as Exhibit A.

Respectfully submitted, this the 6th day of September, 2011.

Z/Mcc@/

Donna L. Roberts (BPl@io. 022249)
Paul Allen England (BPR No. 026288)
STITES & HARBISON, PLLC
SunTrust Plaza

401 Cornrnerce Street, Suite 800
Nashville, Tennessee 37219

(615) 782-2200 (phone)

(615) 742-0705 (fax)

Counsel for Defendants Bank of America, N.A.
and Deutsche Bank

CERTIFICATE OF SERVICE

l hereby certify that on this the 6th day of Septernber, 2011, a copy of the foregoing
Notice of Rernoval to Federal Court Was served by first-class U.S. Mail addressed to the
following

Webb A. Brewer, Esq.

Steven E. Barlow, Esq.
Brewer & Barlow, P.L.C.

20 S. Dudley Street, Suite 806
Mernphis, TN 38103
Attorneysfor Plclz`nti]jf

Paul Allen England

Z/M %QJ

C05251C0140i908521:1:NASHVILLE

